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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

WILHEN HILL BARRIENTOS, et al.,

                              Plaintiffs,
                                                    Civil Action No. 4:18-cv-00070-CDL
v.

CORECIVIC, INC.,

                              Defendant.


      DEFENDANT’S MOTION TO COMPEL RESPONSES TO REQUESTS FOR
                           PRODUCTION

       Pursuant to Fed. R. Civ. P. 37(a)(3)(B) and Local Rule 37, Defendant, CoreCivic, Inc.

(“CoreCivic”), moves to compel complete responses to its First Requests for Production of

Documents to Plaintiffs, Wilhen Hill Barrientos, Gonzalo Bermudez Gutierrez, and Keysler

Urbina Rojas (collectively, “Plaintiffs”). The documents sought by CoreCivic’s Requests are

relevant to the claims and defenses at issue and are therefore discoverable. See Fed. R. Civ. P.

26(b)(1) (permitting discovery as to “any nonprivileged matter that is relevant to any party's

claim or defense and proportional to the needs of the case”). Despite demanding that CoreCivic

produce tens of thousands of documents to them, Plaintiffs have refused to produce immigration

and detention records, proof of income, social media postings and other written statements about

the case and their alleged injuries and damages, and medical files. CoreCivic is entitled to these

documents in order to test Plaintiffs’ claims and support its own defenses. For the reasons set

forth in the attached Memorandum, CoreCivic respectfully requests that the Court grant this

Motion and order Plaintiffs to provide the documents to CoreCivic.
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       CoreCivic requested supplemental responses to the requests at issue via letter dated

November 23, 2021. Counsel for the parties then met and conferred telephonically on

November 30, 2021, but were unable to reach an agreement. On December 1, 2021, counsel for

CoreCivic sent a follow-up email to Plaintiffs’ counsel attaching a detainee grievance that had

been produced by CoreCivic that contained a stamp confirming it was submitted to the

immigration court in the detainee’s immigration proceedings, demonstrating the relevance of

Plaintiffs’ immigration records and asking whether the grievance changed Plaintiffs’ position as

to those records. On December 2, 2021, Plaintiffs’ counsel sent a letter to counsel for CoreCivic

memorializing Plaintiffs’ positions as to each request at issue, some of which were stated during

the parties’ meet and confer, and some of which were not. Although Plaintiffs’ indicated, for the

first time on December 2, that they were willing to meet and confer further about some of the

requests, CoreCivic is filing this Motion now to preserve the issues and avoid an argument that

the Motion was filed after the fact discovery deadline expired. For the reasons stated in

CoreCivic’s Memorandum in Support of this Motion, Plaintiffs should be required to provide

complete responses and document productions in response to CoreCivic’s Requests for

Production.




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Dated: December 3, 2021            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         I hereby certify that on the 3rd day of December, 2021, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following:

       Priyanka Bhatt               priyanka@projectsouth.org
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and I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM/ECF participants:

       N/A

                                           s/ Jacob B. Lee




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